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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION


 UNITED STATES OF AMERICA                                                           PLAINTIFF


 VS.                               CASE NO. 11-cr-40009


 REBECCA MILLER                                                                    DEFENDANT


                                            ORDER

        Before the Court is the Report and Recommendation filed April 28th, 2014, by the

 Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

 (ECF No. 133). Judge Bryant recommends that Defendant’s Motion to Vacate, Set Aside, or

 Correct Sentence Pursuant to 28 U.S.C. § 2255 be denied and dismissed and further recommends

 that an appeal from dismissal would not be taken in good faith. The parties have not filed

 objections to the Report and Recommendation, and the time to object has passed. See 28 U.S.C.

 § 636(b)(1). Therefore, the Court adopts the Report and Recommendation in toto. Defendant’s

 Motion is DENIED, and the Court finds that an appeal from dismissal would not be taken in

 good faith.

        IT IS SO ORDERED, this 17th day of June, 2014.


                                                    /s/ Harry F. Barnes
                                                    Harry F. Barnes
                                                    United States District Judge
